Case 1:19-cv-05244-AKH Document 64-6 Filed 03/20/20 Page 1 of 30




              Exhibit
                F
                 Case 1:19-cv-05244-AKH Document 64-6 Filed 03/20/20 Page 2 of 30




                                               Kik Interactive Inc.

                       Confidential Private Placement Offering Memorandum

                         Minimum $25.0 Million and Maximum $50.0 Million

                                  Purchase Rights for Tokens pursuant to
                                    Simple Agreement for Future Tokens

           THE OFFERING PERIOD OF THE PLACEMENT WILL EXPIRE ON THE EARLIER TO
           OCCUR OF: (I) THE DATE ON WHICH THE MAXIMUM PLACEMENT AMOUNT HAS
         BEEN SUBSCRIBED FOR AND ACCEPTED BY THE COMPANY AND A FINAL CLOSING IS
           CONDUCTED OR (II) JULY 15, 2017, UNLESS EXTENDED BY UP TO 60 DAYS IN THE
                                DISCRETION OF THE COMPANY.


        This Confidential Private Placement Offering Memorandum (this “Memorandum”) has been prepared by
        Kik Interactive Inc. for use by a limited number of accredited investors to whom Kik Interactive Inc. is
        offering (the “Offering”) the opportunity to purchase the right to acquire in the future pursuant to a
        Simple Agreement for Future Tokens (the “SAFT”) units of Kin tokens to be developed, produced and
        offered by Kik Interactive Inc. (the “Tokens”). Unless the context requires otherwise, in this
        Memorandum the terms “Kik,” “the Company,” “we,” “us” and “our” refer to Kik Interactive Inc. and its
        subsidiaries and all dollar ($) amounts set forth herein refer to United States dollars.




        146528051 v8
FOIA Confidential Treatment Requested                                                                       KIK000037
By Kik Interactive Inc.
                 Case 1:19-cv-05244-AKH Document 64-6 Filed 03/20/20 Page 3 of 30



                This confidential Private Offering Memorandum (the “Memorandum”) has been prepared solely
        for use by the prospective purchasers of Kin tokens pursuant to a Simple Agreement for Future Tokens
        (“SAFT”) to be issued by Kik Interactive Inc. (“Kik” or the “Company”) with respect to certain units of
        Kin of the Company (the “Tokens”) and shall be maintained in strict confidence. Each recipient hereof
        acknowledges and agrees that (i) the contents of this Memorandum constitute proprietary and confidential
        information, (ii) Kik and its affiliates, including without limitation the Kin Ecosystem Foundation, derive
        independent economic value from such confidential information not being generally known, and (iii) such
        confidential information is the subject of reasonable efforts to maintain its secrecy. The recipient further
        agrees that the contents of this Memorandum are a trade secret, the disclosure of which is likely to cause
        substantial and irreparable competitive harm to the Company. Any reproduction or distribution of this
        Memorandum, in whole or in part, or the disclosure of its contents, without the prior written consent of the
        Company, is prohibited. Each person who has received this Memorandum is deemed to agree to return this
        Memorandum to the Company upon request. The existence and nature of all conversations regarding the
        Company and this offering must be kept confidential.
                 This Memorandum has been prepared in connection with a private offering to accredited investors
        of the SAFT. Each investor will be required to execute a SAFT (as amended, restated and/or otherwise
        modified from time to time) and investor questionnaire to effect its future investment in the Tokens. This
        Memorandum contains a summary of the SAFT, the Tokens and certain other documents referred to herein.
        However, the summaries in this Memorandum do not purport to be complete and are subject to and qualified
        in their entirety by reference to the actual text of the relevant document, copies of which will be provided
        to each prospective investor upon request. Each prospective investor should review the SAFT and such
        other documents for complete information concerning the rights, privileges and obligations of SAFT
        investors. If any of the terms, conditions or other provisions of the SAFT or such other documents are
        inconsistent with or contrary to the descriptions or terms in this Memorandum, the SAFT or such other
        documents shall control. The Company reserves the right to modify the terms of the offering and the SAFTs
        and the Tokens described in this Memorandum, and the SAFTS are offered subject to the Company’s ability
        to reject any commitment in whole or in part.
                 The SAFTs and the Tokens have not been and will not be registered under the United States
        Securities Act of 1933, as amended (the “Securities Act”), or any United States state securities laws or the
        laws of any foreign jurisdiction. The SAFTs will be offered and sold under the exemption provided by
        Section 4(A)(2) of the Securities Act and Regulation D promulgated thereunder, or to non-U.S. Persons
        who are not purchasing for the account or benefit of a U.S. Person as defined under Regulation S under the
        Securities Act, and other exemptions of similar import in the laws of the states and other jurisdictions where
        the offering will be made. The Company will not be registered as an investment company under the United
        States Investment Company Act of 1940, as amended (the “Investment Company Act”). Consequently,
        investors will not be afforded the protections of the Investment Company Act.
                The SAFTs described in this Memorandum are subject to restrictions on transferability and resale
        and may not be transferred or resold. Investors should be aware that they will be required to bear the
        financial risks of this investment for an indefinite period of time.
                An investment in the SAFT and the Tokens involves a high degree of risk, volatility and illiquidity.
        A prospective purchaser should thoroughly review the confidential information contained herein and the
        terms of the SAFT, and carefully consider whether an investment in the SAFT is suitable to the investor’s
        financial situation and goals.
               No person has been authorized to make any statement concerning the Company or the sale of the
        SAFTs discussed herein other than as set forth in this Memorandum, and any such statements, if made,
        must not be relied upon.
                Investors should make their own investigations and evaluations of the SAFT and the Tokens that
        will be delivered pursuant thereto, including the merits and risks involved in an investment therein. Prior


        146528051 v8
FOIA Confidential Treatment Requested                                                                           KIK000038
By Kik Interactive Inc.
                 Case 1:19-cv-05244-AKH Document 64-6 Filed 03/20/20 Page 4 of 30



        to any investment, the Company will give investors the opportunity to ask questions of and receive answers
        and additional information from it concerning the terms and conditions of this offering and other relevant
        matters to the extent the Company possesses the same or can acquire it without unreasonable effort or
        expense. Investors should inform themselves as to the legal requirements applicable to them in respect of
        the acquisition, holding and disposition of the SAFTs and the Tokens upon their delivery, and as to the
        income and other tax consequences to them of such acquisition, holding and disposition.
                 This Memorandum does not constitute an offer to sell, or a solicitation of an offer to buy, an interest
        in any jurisdiction in which it is unlawful to make such an offer or solicitation. Neither the United States
        Securities and Exchange Commission nor any other federal, state or foreign regulatory authority has
        approved an investment in the SAFT. Furthermore, the foregoing authorities have not confirmed the
        accuracy or determined the adequacy of this Memorandum, nor is it intended that the foregoing authorities
        will do so. Any representation to the contrary is a criminal offense.
                 Investments in the SAFT are denominated in United States dollars ($) and Investors may tender
        United States dollars. Such currencies are subject to any fluctuation in the rate of exchange and, in the case
        of digital assets, the exchange valuations. Such fluctuations may have an adverse effect on the value, price
        or income of an investor’s investment.

                                Cautionary Statements Regarding Forward-Looking Statements

                Certain statements in this Memorandum constitute forward-looking statements. When used in this
        Memorandum, the words “may,” “will,” “should,” “project,” “anticipate,” “believe,” “estimate,” “intend,”
        “expect,” “continue,” and similar expressions or the negatives thereof are generally intended to identify
        forward-looking statements. Such forward-looking statements, including the intended actions and
        performance objectives of the Company, involve known and unknown risks, uncertainties, and other
        important factors that could cause the actual results, performance, or achievements of the Company in its
        development of the Kin Ecosystem to differ materially from any future results, performance, or
        achievements expressed or implied by such forward-looking statements. No representation or warranty is
        made as to future performance or such forward-looking statements. All forward-looking statements in this
        Memorandum speak only as of the date hereof. The Company expressly disclaims any obligation or
        undertaking to disseminate any updates or revisions to any forward-looking statement contained herein to
        reflect any change in its expectation with regard thereto or any change in events, conditions, or
        circumstances on which any such statement is based.

                Prospective investors are not to construe this Memorandum as investment, legal, tax, regulatory,
        financial, accounting or other advice, and this Memorandum is not intended to provide the sole basis for
        any evaluation of an investment in an interest. Prior to acquiring an interest, a prospective investor should
        consult with its own legal, investment, tax, accounting, and other advisors to determine the potential
        benefits, burdens, and other consequences of such investment.




        146528051 v8
FOIA Confidential Treatment Requested                                                                             KIK000039
By Kik Interactive Inc.
                   Case 1:19-cv-05244-AKH Document 64-6 Filed 03/20/20 Page 5 of 30



                                                          KIK INTERACTIVE INC

                                         SIMPLE AGREEMENT FOR FUTURE TOKENS



                                                           TABLE OF CONTENTS

        COMPANY OVERVIEW .............................................................................................................. 1

        DIRECTORS AND MANAGEMENT ........................................................................................... 6

        TERMS OF THE PURCHASE RIGHTS AND THE SAFTS........................................................ 8

        RISK FACTORS .......................................................................................................................... 11

        USE OF PROCEEDS ................................................................................................................... 18

        PLAN OF DISTRIBUTION ......................................................................................................... 19

        TAX CONSIDERATIONS ........................................................................................................... 25




        146528051 v8
FOIA Confidential Treatment Requested                                                                                                      KIK000040
By Kik Interactive Inc.
                 Case 1:19-cv-05244-AKH Document 64-6 Filed 03/20/20 Page 6 of 30



                                                COMPANY OVERVIEW


        Kik Interactive Inc. is one of the world’s most popular messaging platforms. With over a quarter of a billion
        messages sent daily and 15 million monthly active users, Kik is the fifth most-searched term in the iOS
        App Store, and ranks #7 in social networking alongside Facebook Messenger and WhatsApp.

        Founded by Ted Livingston in 2009, Kik has been a leading innovator in the chat space since the first
        million people signed up for the chat application in 2010. Kik was the first chat app to become a platform
        in 2011, and the first Western chat platform to integrate bots in 2014. Today, Kik has 124 full-time, 7 part-
        time and 11 contract employees located in offices across Waterloo, Toronto, New York City, and Tel Aviv.

        Kik’s wifi-enabled chat application was initially developed to support real-time messaging across multiple
        mobile operating systems, including Blackberry, Android and iPhone. With profiles based on user names
        rather than phone numbers, Kik provided a unique and compelling way for teens to participate in mobile
        messaging.

        Today, Kik positions itself in the marketplace as a community chat platform for the mobile generation. 57
        percent of Kik's active user base comprises 13 to 24 year olds. Extending beyond the simple utility of
        messaging, Kik enables seamless connection with friends and families through innovative chat experiences,
        offering users the ability to discover and explore a wide variety of interests. As a result, Kik enjoys a high
        level of engagement from its users. The average Kik user spends 37 minutes and sends 55 messages daily
        on the platform.

        Kik’s core product missions

        The Kik product teams are currently working across seven core focus areas -- identity, people, experiences,
        health, safety, bots and the chat economy.

        The first product mission, built around identity, is to ensure that Kik is a place where users can explore and
        express who they are without being judged by others. In a world where teens and young adults are
        increasingly reliant on social media, the pressure for acceptance and validation is palpable. Kik aims to
        provide an alternative space that is free from judgement. Nearly 40% of the U.S. mobile messaging market,
        believes that Kik promotes and protects the interests of young people, and that Kik provides a private space
        away from public and social pressure.

        Kik’s second product mission, built around people, is to ensure Kik is a place where users can meet and
        connect with all types of friends and communities. Public Groups is an example of a chat feature that allows
        users to come together to build communities around shared interests. Since the product’s launch in early
        2017, Kik users have created over 7 million Public Group chats for connecting with people around interests
        from music to comics, food and gaming.

        Experiences, or rather, providing an environment where users can access a diverse set of shared experiences,
        is Kik’s third product mission. Product offerings across this mission range from new ways to communicate,
        such as our recently added group video chat, to enabling users the ability to consume, co-create and share
        content. Over 55 million pieces of expressive content, namely stickers and GIFs, are shared daily on Kik.

        Health and safety are foundational product missions focused on maintaining a high level of product quality
        and user safety within the Kik chat application. Kik seeks to provide a safe community where Kik users
        have confidence that they can express themselves with little risk of exposure to unwanted negative, adult,
        or illegal content and tries to improve user safety by combining strategic education, prevention, detection



        146528051 v8
FOIA Confidential Treatment Requested                                                                           KIK000041
By Kik Interactive Inc.
                 Case 1:19-cv-05244-AKH Document 64-6 Filed 03/20/20 Page 7 of 30



        and moderation. Kik also seeks to identify and continuously monitor the best way to deliver a great
        experience for Kik’s users by maintaining certain standards of a well performing application for Kik users
        with respect to the application’s (1) stability; (2) performance; (3) responsiveness; (4) wifi, and how these
        standards can be realized using technological solutions.

        Kik also maintains an industry-leading bot platform, which works to enhance community building and
        experiences on Kik. A chatbot is software that is designed to automate tasks or provide a service via a chat
        interface. Simply put, a chatbot combines services and experiences, many of which are commonly found in
        mobile apps, with conversational interfaces. Since launching the bot platform in 2014, over 187,000 bots
        have been created by third-party developers. Today, Kik users engage with bots across many categories
        including gaming, entertainment, fashion, beauty, and lifestyle.

        The seventh product mission at Kik is focused on building a robust chat economy, providing users with
        new and innovative offerings from developers, content creators and brands, while ensuring proper
        monetization for these offerings. Kik has been experimenting with forms of in-app currency since 2014,
        when it launched Kik Points. In launching Kik Points, the company wanted to see if users of its chat app
        would be eager to earn and spend a centralized digital currency. Key to this innovation was the notion that
        users would not have to purchase Kik Points but could instead earn them within the app. Millions of Kik
        users participated, resulting in an average monthly transaction volume nearly three times higher than the
        global transaction volume of Bitcoin.

        This seventh and final product mission will serve as the stepping-stone to realizing the future vision of Kin,
        which will be outlined further in this memorandum. The size of the user base, demographics, and
        community interactions and ethos make Kik a unique venue where cryptocurrency may be introduced,
        adopted, and utilized by a large mainstream audience.

        The Kin vision: a decentralized ecosystem of digital services for daily life

        The past 150 years have brought a series of momentous shifts in the advancement of communication and
        commerce, each catalyzed by new technologies that have increased the power of media: the telegraph, the
        telephone, radio, television, the web, and, finally, the mobile internet. In each case, these new modes of
        communication brought the world fresh commercial opportunities, facilitating the exchange and promotion
        of goods and services that could reach an ever greater, and increasingly targeted, population.

        Kik’s management believe that the next step in this process is the assimilation of economic value into
        communication systems. Digital services such as chat, social media, and online payments have come to
        play a fundamental role in our daily lives, influencing not only our consumption behaviors, but also our
        discourse, politics, and methods of value exchange. Digital communications platforms are becoming the
        most important media in the ongoing development of a global economy.

        At the same time, more and more of these services are controlled by a diminishing number of companies.
        If left unchecked, Kik’s management believes that it is possible that a few private entities may in the future
        exercise significant authority over the digital services everyone uses, with the potential to effectively
        eliminate consumer choice on a global scale.

        Kik believes that decentralization provides a more sustainable way forward. The vision for Kin is rooted in
        the belief that a broad group of participants can come together to create an open ecosystem of tools for
        digital communication and commerce that prioritizes consumer experience, bringing a fair and user-
        oriented model for digital services to the market.




                                                              2
        146528051 v8
FOIA Confidential Treatment Requested                                                                           KIK000042
By Kik Interactive Inc.
                 Case 1:19-cv-05244-AKH Document 64-6 Filed 03/20/20 Page 8 of 30



        The development of the Kin Ecosystem

        The Kin Ecosystem will seek to establish a global network of digital services that constitutes a new
        cooperative operating model that is focused on the long term. In this model, developers and service
        providers will enjoy the right and opportunity to innovate and compete for compensation, while users will
        benefit from a diverse digital experience, freedom of choice, and access to a broad range of commercial
        services. The development of the Kin Ecosystem will follow four key milestone phases.

            •    The introduction of Kin. Envisioned as a general purpose cryptocurrency for use in everyday
                 digital services, Kin will be used for all transactions within the Kin Ecosystem. Implemented on
                 the public Ethereum blockchain as an ERC20 token, Kin will serve as the basis of interoperability
                 with other digital services in the Kin Ecosystem.

            •    Establishing value for Kin. Kin will be integrated into the Kik application, making Kik the first
                 digital service to join the Kin Ecosystem. With millions of users, it is expected that Kik will drive
                 mainstream consumer adoption of Kin and establish a fundamental value for the cryptocurrency.
                 By natively integrating the Kin wallet into the app, Kik believes that it will quickly become one of
                 the most adopted and used cryptocurrency wallets in the world.

            •    Deployment of the Kin Rewards Engine. The Kin Rewards Engine is an innovative
                 cryptoeconomic structure intended to promote the use of Kin as a common currency. Through the
                 Kin Rewards Engine, Kin will be introduced into circulation as a daily reward, to be distributed
                 among stakeholders by an algorithm that reflects each community’s contribution to the overall
                 ecosystem. This economic structure is intended to create a natural incentive for owners of other
                 digital services to adopt Kin and become partners in the Kin Ecosystem.

            •    Governance by the Kin Ecosystem Foundation. The Kin Ecosystem Foundation, a to-be formed
                 not for profit corporation, will act as the governance body for the Kin Ecosystem. The Kin
                 Ecosystem Foundation’s mandate is to grow an open ecosystem of digital services that consumers
                 can easily explore and find value in, while giving developers an open and sustainable platform to
                 build, enhance and monetize those services. Over time, the Kin Ecosystem Foundation will help to
                 manage the transition of the Kin Ecosystem into a fully decentralized and autonomous network.

        Initial Launch of Kin and Kin Ecosystem

        At the time of the public Token distribution event, the Kik messaging application will have the following
        functionality (the “Minimum Viable Product”): a Kik user who owns Kin will be able to create a
        “wallet” inside the Kik app. The wallet will be accessible via the settings menu within the Kik messaging
        application using a private key. Only by entering the private key, a Kik user will be able to see his or her
        wallet (including, the Kik user’s Kin balance, send/receive premium stickers functionality and Kin status).
        Each Kik user (who has a Kik wallet) will be categorized into one of five categories of status based on the
        number of Kin held by that Kik user.

        A Kik user (who has a wallet) will be eligible to use premium sticker packs based on his or her status.
        Premium sticker packs will be created by independent content creators (not brands). A Kik user (who has
        a wallet) will be able to send any of his or her premium stickers to any Kik user, however, a Kik user who




                                                              3
        146528051 v8
FOIA Confidential Treatment Requested                                                                           KIK000043
By Kik Interactive Inc.
                 Case 1:19-cv-05244-AKH Document 64-6 Filed 03/20/20 Page 9 of 30



        does not have a wallet will only be able to receive premium stickers from a Kik user (who has a wallet).



        Potential Future Competitive Landscape

        By launching Kin, the Company will seek to integrate cryptocurrency to the largest potential number of
        users in one application to-date. While there is no direct competition to Kin currently, the Company could
        encounter competition from any of the other larger applications, either messengers such as Facebook or
        Whatsapp or other digital service providers. We believe that the Company has a proven track record of
        innovation and execution. By introducing a cryptocurrency on one of the larger bot networks and with a
        highly engaged user base will result in a strong ecosystem. Unlike other potential competitors, Kik does
        not have established business models that will constraint it from being an innovator in the sector.

        Legal Proceedings

        From time to time, Kik may be involved in legal proceedings. The results of such legal proceedings and
        claims cannot be predicted with certainty, and regardless of the outcome, legal proceedings could have an
        adverse impact on Kik’s business or the development of the Kin Ecosystem because of defense and
        settlement costs, diversion of resources and other factors.

        Data Privacy Class Action

        Kik and several other mobile application developers were first sued on March 12, 2012, in a putative class
        action filed in the United States District Court for the Western District of Texas, alleging that their mobile
        applications illegally harvested address book data from mobile devices without the device owners’ consent.

        Based on the named plaintiffs’ allegations of address-book harvesting, the Second Amended Complaint
        asserted causes of action for invasion of privacy, common law misappropriation, conversion, trespass to
        personal property, misappropriation of trade secrets, negligence, interception of electronic communication
        under the Electronic Communication Privacy Act, computer fraud, RICO, theft, violation of California
        Penal Code section 502, violation of the Texas and California Wiretap Acts, unjust enrichment, constructive
        trust, and declaratory relief. The complaint sought damages in an unspecified amount, statutory damages,
        punitive damages, injunctive relief, disgorgement of profits, declaratory relief, interest, and attorneys’ fees
        and costs.

        Kik, among other defendants, moved to transfer the case to the United States District Court for the Northern
        District of California, and to dismiss the complaint, on October 12, 2012. The court granted the motion to
        transfer on January 15, 2013, and denied without prejudice all other pending motions in light of the transfer.
        On May 6, 2013, the Court ordered that the Opperman case be related to five other actions pending in the
        Northern District of California, which proceeded in coordinated proceedings before Judge Jon S. Tigar
        under lead case number 3:13:00453-JST.

        Pursuant to court order, plaintiffs in the five related cases filed a Consolidated Amended Class Action
        Complaint on September 3, 2013, which asserted substantially identical allegations and causes of action,
        and sought substantially identical damages, against Kik and other defendants as asserted in the Second
        Amended Complaint in the Opperman case.

        On October 18, 2013, Kik, among other defendants, filed motions to dismiss the Consolidated Amended
        Class Action Complaint. Following a hearing on February 11, 2014, the Court issued an order on May 14,



                                                              4
        146528051 v8
FOIA Confidential Treatment Requested                                                                            KIK000044
By Kik Interactive Inc.
                Case 1:19-cv-05244-AKH Document 64-6 Filed 03/20/20 Page 10 of 30



        2014, dismissing without prejudice, all of plaintiffs’ claims with the exception of plaintiffs’ claim for
        common law intrusion upon seclusion against Kik and other defendants.

        As permitted by the Court’s order, the plaintiffs filed a Second Consolidated Amended Complaint on June
        27, 2014, in which plaintiffs assert claims against Kik and other app-developer defendants for common law
        conversion and intrusion upon seclusion, as well as several other claims directed solely to Apple, Inc.

        Kik filed a motion to dismiss the remaining claims in plaintiffs’ Second Consolidated Amended Complaint
        on August 22, 2014. On March 23, 2015, the Court issued an order dismissing with prejudice plaintiffs’
        claim for conversion, but denying the motion to dismiss as to plaintiffs’ common law claim for intrusion
        upon seclusion. In August 2015, the parties commenced discovery with respect to the intrusion-upon-
        seclusion claim. Written discovery is by and large complete, and Defendants took the depositions of
        Plaintiffs. No depositions of Kik or its employees have been noticed. Both sides have employed source
        code experts to review Kik’s code.

        On November 12, 2015, Plaintiffs filed a motion for class certification against Defendants’ Path and Apple.
        On September 15, 2016, the Court issued an order partially granting the motion for class certification, which
        Apple appealed to the Ninth Circuit pursuant to Federal Rule of Civil Procedure 23(f).

        On August 23, 2016, Plaintiffs filed a motion for class certification against Kik and other app-developer
        defendants. On September 12, 2016, the Court granted a stipulation extending the deadlines for Kik and
        other app-developer defendants to oppose Plaintiffs’ motion for class certification pending the outcome of
        Apple’s appeal to the Ninth Circuit and a joint mediation between the parties in an attempt to settle the
        matter. On October 20, 2016, the Ninth Circuit denied Apple’s appeal. On November 20 and December
        2, 2016, Kik and most defendants, as well as Plaintiffs, participated in mediation and agreed upon terms of
        classwide settlement. The parties’ executed settlement agreement was submitted to the court with a motion
        for preliminary approval by Plaintiffs on April 3, 2017. On May 16, 2017, the court issued an order stating
        that it would decide the motion without a hearing. The court has not yet issued an order ruling on the
        motion.

        Complaints for Patent Infringement

        From time to time, the Company is the target of patent infringement suits, typically brought by so-called
        non-practicing entities (as known as patent trolls). Although these suits must be taken seriously, and Kik
        intends to defend itself vigorously in suits alleging patent infringement, suits involving non-practicing
        entities often involve non-material monetary settlements. The Company has been the recent target of
        several patent infringement suits involving what appear to be non-practicing entities. None of these suits
        have yet been served. The plaintiffs in each of these suits have not made any settlement demands.




                                                             5
        146528051 v8
FOIA Confidential Treatment Requested                                                                          KIK000045
By Kik Interactive Inc.
                Case 1:19-cv-05244-AKH Document 64-6 Filed 03/20/20 Page 11 of 30



                                         DIRECTORS AND MANAGEMENT


        Management Team

        The Company’s executive management includes the following individuals.

        Ted Livingston, 30. Mr. Livingston has served as Kik’s Chief Executive Officer since he founded the
        Company in 2009. Mr. Livingston attended University of Waterloo from 2005 to 2009, and he maintains
        an active interest in the University of Waterloo’s Velocity Fund, a startup accelerator he conceived of and
        first funded. Mr. Livingston was named one of Fast Company’s Most Creative People In Business in 2017.

        Peter Heinke, 59. Mr. Heinke has served as Kik’s Chief Financial Officer and Chief Operating Officer
        since 2010. From 2006 to 2010, Mr. Heinke served as the Chief Operating Officer of CorCare Inc. Prior
        to that, Mr. Heinke led finance, operations and strategy for both established and startup companies in the
        media, technology and transportation sectors. Mr. Heinke holds a B.A. in business from Wilfrid Laurier
        University.

        Eran Ben-Ari, 38. Mr. Ben-Ari has served as Kik’s Chief Product Officer since 2016. From 2015 to 2016,
        he served as Vice President, Product at Rounds Entertainment Ltd. From 2014 to 2015 he served as Vice
        President, Growth at Hola Networks Ltd., and from 2012 until 2014, he served as Vice President, Product
        at Kampyle Ltd. (Acquired by Medallia). Mr. Ben-Ari holds a master’s degree in Anthropology (highest
        honors) from Hebrew University.

        Alim Dhanji, 40. Mr. Dhanji has served as Kik’s Chief People Officer and Chief Compliance Officer
        since 2015. Prior to that he served as an advisor to Kik’s Chief Executive Officer from 2011 to 2015. Mr.
        Dhanji has over 15 years of international leadership experience having held senior executive roles in
        human resources, finance and corporate development at TD Bank Financial Group, Citigroup and KPMG
        International. Mr. Dhanji holds an MBA from Royal Roads University and is a board member at Golden
        Key International Honour Society.

        Dany Fishel, 38. Mr. Fishel has served as President of Kik Israel since 2016. Mr. Fishel co-founded
        Rounds Entertainment Ltd. and from 2008 to its acquisition by Kik in 2016, served as its Chief Executive
        Officer. Prior to that, Mr. Fishel co-founded Kwakwa, a strategic web consulting firm and managed both
        contextual and behavioral advertising for 888 Holdings PLC. Mr. Fishel holds a B.A. in economics and
        management from Hebrew University.

        Erin Clift, 43. Ms. Clift has served as Kik’s Chief Marketing Officer since 2016. From 2012 to 2015, she
        served as Vice President, Global Marketing and Partnerships at Spotify. Prior to Spotify, Ms. Clift held
        leadership positions at AOL Inc. and Google, Inc. She holds a B.A. in psychology from Indiana University.

        David Simons, 50. Mr. Simons has served as Kik’s Senior Vice President, Engineering since 2016. From
        2009 to 2016, he served as Chief Technology Officer of Points International, Ltd. Mr. Simons holds a
        BMath in computer science from University of Waterloo.

        Board of Directors

        The Company’s Board of Directors is comprised of the following individuals:

        Samuel Spadafora, 74. Mr. Spadafora has served as Kik’s Chair of the Board of Directors since 2011.
        From November 1999 to November 2006, he served as the chairman of the board of directors of Chordiant


                                                            6
        146528051 v8
FOIA Confidential Treatment Requested                                                                        KIK000046
By Kik Interactive Inc.
                Case 1:19-cv-05244-AKH Document 64-6 Filed 03/20/20 Page 12 of 30



        Software, Inc., a provider of customer relationship management software, where he also served as Chief
        Strategy Officer from November 2003 to November 2006. Mr. Spadafora served as Chief Executive Officer
        and as a director of Chordiant from June 1998 to January 2002 and, from June 1998 until October 2000, he
        was also Chordiant's President. Mr. Spadafora retired from Chordiant Software, Inc. in November 2006.
        From April 1994 to June 1998, Mr. Spadafora served as Vice President of Worldwide Field Operations for
        the microelectronic business of Sun Microsystems, Inc., a computer systems and networking company. Mr.
        Spadafora holds a B.A. degree in Marketing from Eastern Michigan University.

        Jim A. Estill, 58. Mr. Estill has served on the Kik Board of Directors since 2016. Since 2009, Mr. Estill
        has served as the Chief Executive Officer of Danby Products Limited and is a Co-Founder, Managing
        Director and Managing Partner of Canrock Ventures. He served as Chief Executive Officer of SYNNEX
        Canada Limited at SC Txlink LLC from 2004 to 2009. He serves as an investor, advisor and board member
        to many technology businesses including RIM where he was a founding board member. Mr. Estill holds
        a B.Sc. degree in systems design engineering from University of Waterloo. He also hold BA from
        Woodstock Collegiate Institute.

        Fred Wilson, 56. Mr. Wilson has served on the Kik Board of Directors since 2011. Mr. Wilson has served
        a managing partner at Union Square Ventures since 2003. Prior to that he founded and served as a managing
        partner at Flatiron Partners. Mr. Wilson has an MBA from The Wharton School of Business at the
        University of Pennsylvania and a B.S. in Mechanical Engineering from MIT.

        Paul Holland, 57. Mr. Holland has served on the Kik Board of Directors since 2014. Mr. Holland has
        served as a General Partner at Foundation Capital since 2001. Mr. Holland holds an MBA from University
        of California, Berkeley, a MA in foreign affairs from University of Virginia, and BS from James Madison
        University.

        Mr. Livingston, Kik’s founder and Chief Executive Officer, and Mr. Heinke, Kik’s Chief Financial Officer
        and Chief Operating Officer, are also members of the Board of Directors.




                                                           7
        146528051 v8
FOIA Confidential Treatment Requested                                                                      KIK000047
By Kik Interactive Inc.
                Case 1:19-cv-05244-AKH Document 64-6 Filed 03/20/20 Page 13 of 30



                             TERMS OF THE PURCHASE RIGHTS AND THE SAFTS


            The summary below describes the principal terms of the SAFTs and the rights to purchase Tokens
        contained therein. Certain of the terms and conditions described below are subject to important
        limitations and exceptions. Prospective investors should review the entirety of form of SAFT, available from
        the Company. The summary below is qualified in its entirety by reference to the actual text of the form of
        SAFT.


         Company:                                            Kik Interactive Inc.

         Securities:                                         Right to purchase in the future certain units of Kin of
                                                             the Company (the “Token” or “Kin”) pursuant to a
                                                             Simple Agreement for Future Tokens (each a
                                                             “SAFT” and together the “SAFTs”) issued to
                                                             investors (each, an “Investor”). Each Investor: (a) if
                                                             in the United States, or a U.S. Person (as defined in
                                                             Regulation S under U.S. Securities Act of 1933, as
                                                             amended (the “Securities Act”)), must be an
                                                             accredited investor, as defined in Regulation D under
                                                             the Securities Act or (b) if in Canada, such Investor
                                                             must be an accredited investor as defined under
                                                             applicable Canadian securities laws, or (c) if outside
                                                             of the United States, must be a non-U.S. Person who
                                                             is not purchasing for the account or benefit of a U.S.
                                                             Person as defined under Regulation S under the
                                                             Securities Act

         Minimum Net Proceeds:                               $25.0 million

         Maximum Net Proceeds:                               $50.0 million

         Minimum SAFT Investment:                            $0.5 million

         Form of Payment for SAFT:                           U.S. Dollars

         Use of Proceeds:                                    A significant portion of the proceeds of the Offering
                                                             will be used by the Company to achieve the
                                                             Minimum Viable Product and subsequently to build-
                                                             out a semi-centralized blockchain-based computer
                                                             network that enables economic transactions and a
                                                             reward system for digital service providers as well as
                                                             to develop an application to make the network
                                                             accessible via the Kik messaging platform (the “Kin
                                                             Ecosystem”) See “Use of Proceeds” elsewhere in this
                                                             Memorandum for additional information.

         Automatic Conversion:                               Upon the achievement of the Minimum Viable
                                                             Product and the occurrence of a bona fide transaction
                                                             or series of transactions, pursuant to which the


                                                             8
        146528051 v8
FOIA Confidential Treatment Requested                                                                          KIK000048
By Kik Interactive Inc.
                Case 1:19-cv-05244-AKH Document 64-6 Filed 03/20/20 Page 14 of 30



                                               Company will sell Kin to the general public in a
                                               publicized product launch of Kin through the
                                               instantiation of Kin via deployment on the Ethereum
                                               Blockchain (the “Network Launch”), the Company
                                               will automatically issue to the Investor fifty percent
                                               (50%) of such number of units of the Kin equal to the
                                               SAFT Purchase Amount divided by the Discount
                                               Price (as such price shall be determined and set forth
                                               in the SAFT). The remainder of such Tokens shall
                                               be issued to Investors on the one year anniversary of
                                               the Network Launch.

         Conversion Price:                     The conversion price of the units of Kin shall be at
                                               the discount price, which shall be the maximum price
                                               a unit of Kin is sold to the public in the Network
                                               Launch multiplied by seventy percent (70%).

         Termination:                          The SAFT shall terminate upon the earlier of (i) the
                                               Network Launch; (ii) September 30, 2017, if the
                                               Network Launch has not occurred by such date,
                                               provided that, the Company shall have the right to
                                               extend by sixty (60) days, in its sole discretion (iii)
                                               the payment or setting aside of payment of amounts
                                               due to the Investor upon a Dissolution Event, which
                                               shall include (a) a voluntary termination of
                                               operations of the Company, (b) a general assignment
                                               for the benefit of the Company’s creditors or (c) any
                                               other liquidation, dissolution or winding up of the
                                               Company, whether voluntary or involuntary); and
                                               (iv) the failure of this Offering to obtain proceeds
                                               from the sale of all rights pursuant to the SAFTS of
                                               more than $25.0 million, provided, that in the case
                                               of (ii) or (iii), the Company shall have the obligation
                                               to repay to the Purchasers the amount of their
                                               investment multiplied by the discount rate set forth in
                                               the SAFT (the “Discounted Purchase Amount”) and
                                               in the case of (iv) the Company shall have the
                                               obligation to repay the full amount of the Investors
                                               investment amount.

         Priority of Payment:                  If, immediately prior to the consummation of the
                                               Dissolution Event, the assets of the Company that
                                               remain legally available for distribution to the
                                               Investors, as determined in good faith by the
                                               Company’s Board of Directors, are insufficient to
                                               permit the payment to the Investors of their
                                               respective Discounted Purchase Amounts, then the
                                               remaining assets of the Company legally available
                                               for distribution will be distributed with equal priority
                                               and pro rata among the Investors in proportion to the


                                                9
        146528051 v8
FOIA Confidential Treatment Requested                                                             KIK000049
By Kik Interactive Inc.
                Case 1:19-cv-05244-AKH Document 64-6 Filed 03/20/20 Page 15 of 30



                                               Discounted Purchase Amounts they would otherwise
                                               be entitled to receive.

         Documentation:                        Purchase and sale of the rights shall be on the terms
                                               and conditions set forth in the SAFT, which shall
                                               be prepared by Company’s counsel, and which will
                                               contain certain representations, warranties and
                                               covenants of the Company and the Investors, closing
                                               conditions and other provisions.

         Token Distribution:                   The total supply of Kin that may ever be issued is 10
                                               trillion units. At the time of the Network Launch, an
                                               aggregate of ten percent (10%) of the total supply
                                               will be issued to the Investors upon conversion of the
                                               SAFTs and to the general public; thirty percent
                                               (30%) of the total supply will be issued to Kik (the
                                               “Company Allocation”), and the remaining sixty
                                               percent (60%) of the total supply of Kin will be
                                               allocated to the Kin Ecosystem Foundation (the
                                               “Reward Allocation”).

                                               Ten percent (10%) of the Company Allocation will
                                               vest upon the Network Launch, and an additional ten
                                               percent (10%) shall vest at the beginning of each
                                               quarter thereafter. Kik currently expects that a
                                               portion of the Kin that vests upon the Network
                                               Launch will be distributed to Kin employees and
                                               possibly Kik’s shareholders.

                                               The Kin Ecosystem Foundation will use up to
                                               twenty-five percent (25%) of the Reward Allocation
                                               for operations and marketing. Every year, in
                                               perpetuity, twenty percent (20%) of the remaining
                                               Reward Allocation will be issued as periodic
                                               incentive payments pursuant to the Kin Rewards
                                               Engine.




                                               10
        146528051 v8
FOIA Confidential Treatment Requested                                                           KIK000050
By Kik Interactive Inc.
                Case 1:19-cv-05244-AKH Document 64-6 Filed 03/20/20 Page 16 of 30



                                                     RISK FACTORS


            An investment in the SAFT involves a high degree of risk. You should consider carefully the risks
        described below, together with all of the other information contained in this Memorandum and the SAFT,
        before making an investment decision. The following risks entail circumstances under which, our business,
        financial condition, results of operations and prospects could suffer.

        Risks associated with an investment in the SAFT

        Kik may not successfully develop, market and launch the Minimum Viable Product and Investors may
        not receive Tokens.

        The Minimum Viable Product has not yet been developed by Kik and will require significant capital
        funding, expertise of Kik management, time and effort in order to develop and successfully launch the
        Minimum Viable Product and further develop the Kin Ecosystem. Although Kik intends for the Minimum
        Viable Product , Tokens and Kin Ecosystem to follow the specifications described in this Memorandum,
        and intends to take commercially reasonable steps toward those ends, Kik may have to make changes to the
        specifications of the Minimum Viable Product ,Tokens or Kin Ecosystem for any number of legitimate
        reasons or Kik may be unable to develop the Minimum Viable Product and progress the development of
        the Kin Ecosystem in a way that realizes those specifications or any form of a functioning network. It is
        possible that the Tokens and the Minimum Viable Product may not ever be released and there may never
        be an operational Token or Kin Ecosystem or that the Network Launch will not occur. The Minimum
        Viable Product, Tokens or Kin Ecosystem, if successfully developed and maintained, may not meet Investor
        expectations at the time of purchase. Furthermore, despite good faith efforts to develop and launch the
        Minimum Viable Product and subsequently to develop and maintain the Kin Ecosystem, it is still possible
        that the Minimum Viable Product or the Kin Ecosystem will experience malfunctions or otherwise fail to
        be adequately developed or maintained, which may negatively impact the Kin Ecosystem and Tokens. As
        a result, or if the Network Launch does not occur, Investors may lose all of their investment or may only
        be repaid the Discounted Purchase Amount.

        Kik may be forced to cease operations or take actions that result in a Dissolution Event.

        It is possible that, due to any number of reasons, including, but not limited to, an unfavorable fluctuation in
        the value of cryptographic and fiat currencies, the inability by the Company to establish the Minimum
        Viable Product or the Tokens’ utility, the failure of commercial relationships, or intellectual property
        ownership challenges, the Company may no longer be viable to operate and the Company may dissolve or
        take actions that result in a Dissolution Event.

        If there is not a Network Launch or if there is a Dissolution Event, Investors will only be entitled to
        receive the Discounted Purchase Amount, and may lose all of their investment.

        If the Network Launch does not occur or if there is a Dissolution Event, Investors will only be repaid the
        Discounted Purchase Amount. In addition, if, immediately prior to the consummation of the Dissolution
        Event, the assets of the Company that remain legally available for distribution to the Investors, as
        determined in good faith by the Company’s Board of Directors, are insufficient to permit the payment to
        the Investors of their respective Discounted Purchase Amounts, Investors may lose all of their investment.




                                                              11
        146528051 v8
FOIA Confidential Treatment Requested                                                                            KIK000051
By Kik Interactive Inc.
                Case 1:19-cv-05244-AKH Document 64-6 Filed 03/20/20 Page 17 of 30



        The SAFTs may not be transferred.

        The terms of the SAFT prohibit transfer of the SAFT. As a result, Investors will be required to hold their
        SAFT until the earlier of the Network Launch and the delivery of all of the Tokens, or the termination of
        the SAFT pursuant to the provisions set forth therein. Consequently, Investors must be prepared to bear
        the risk of an investment in the SAFT until the termination of the SAFT pursuant to the terms set forth
        therein.

        Investors will not be issued the full number of Tokens that each Investor has the right to purchase under
        the SAFT until one year following the Network Launch, and will not be able to transfer Tokens until
        they are issued.

        Upon the Network Launch, each Investor will receive only fifty percent (50%) of the Tokens which it has
        the right to purchase under the SAFT. The remainder of the Tokens will be issued to the Investor on the
        one year anniversary of the Network Launch. As a result, it will be over a year from the date of the initial
        investment in the SAFT until the Investor has received all of the Tokens it has the right to purchase under
        the SAFT. As a result, Investors may be unable to dispose of their Tokens at a necessary or convenient
        time for the Investor.

        The tax treatment of the SAFT, the purchase rights contained therein and the Token distribution is
        uncertain and there may be adverse tax consequences for Investors upon certain future events.

        The tax characterization of the SAFT and the Tokens is uncertain, and each Investor must seek its own tax
        advice in connection with an investment in the SAFT. An investment pursuant to the SAFT and the purchase
        of Tokens pursuant thereto may result in adverse tax consequences to Investors, including withholding
        taxes, income taxes and tax reporting requirements. Each Investor should consult with and must rely upon
        the advice of its own professional tax advisors with respect to the United States and non-U.S. tax treatment
        of an investment in the SAFT and the purchase rights contained therein.

        If Kik is unable to successfully consummate the Network Launch, develop the Kin Ecosystem, attract
        developers and new applications to drive users to the Kin Ecosystem and grow its user base through
        widespread use and adoption of the Tokens, Investors will not be able to exercise their right to purchase
        Tokens and may lose all of their investment in the rights acquired pursuant to the SAFT.

        Kik will use the proceeds of this Offering to make significant investments to develop and launch a viable
        Minimum Viable Product and subsequently to build a fulsome network upon which Kik, other content
        providers and users can create compelling content and realize utility. Kik may not have or may not be able
        to obtain the technical skills and expertise needed to successfully develop the Minimum Viable Product
        and progress it to a successful Network Launch. If Kik is not successful in its efforts to demonstrate to
        content providers and potential users the utility and value of the Kin Ecosystem, there may not be sufficient
        demand for the Tokens for Kik to proceed with the Network Launch. Further, if Kik is not successful in its
        efforts to grow the user base or if it is unable to build and maintain good relations with users and other
        content providers following the Network Launch, the Kin Ecosystem may be seriously harmed or may
        never be fully adopted by users.

        Risks associated with the Tokens and the Kin Ecosystem

        The Kin Ecosystem may not be widely adopted and may have limited users.

        It is possible that the Kin Ecosystem will not be used by a large number of individuals, companies and other
        entities or that there will be limited public interest in the creation and development of distributed ecosystems


                                                              12
        146528051 v8
FOIA Confidential Treatment Requested                                                                             KIK000052
By Kik Interactive Inc.
                Case 1:19-cv-05244-AKH Document 64-6 Filed 03/20/20 Page 18 of 30



        (such as the Kin Ecosystem) more generally or distributed applications to be used on the Kin Ecosystem.
        Kik has experienced a declining usage of its messenger service over the last several years. Such a lack of
        use or interest could negatively impact the development of the Kin Ecosystem and therefore the potential
        utility of Tokens.

        Alternative networks may be established that compete with or are more widely used than the Kin
        Ecosystem.

        It is possible that alternative networks could be established that utilize the same or similar open source code
        and protocol underlying the Kin Ecosystem and attempt to facilitate services that are materially similar to
        the Kin Ecosystem services. The Kin Ecosystem may compete with these alternative networks, which could
        negatively impact the Kin Ecosystem and the Tokens.

        The open-source structure of the Kin Ecosystem protocol means that the Kin Ecosystem may be
        susceptible to developments by users or contributors could damage the Kin Ecosystem and Kik’s
        reputation and could affect the utilization of the Kin Ecosystem and the Tokens.

        The Kin Ecosystem will operate based on an open-source protocol maintained by Kik and other
        contributors. As an open source project, the Kin Ecosystem will not be represented, maintained or
        monitored by an official organization or authority. The open-source nature of the Kin Ecosystem protocol
        means that it may be difficult for the Company or contributors maintain or develop the Kin Ecosystem and
        the Company may not have adequate resources to address emerging issues or malicious programs that
        develop within the Kin Ecosystem adequately or in a timely manner. Third parties not affiliated with the
        Company may introduce weaknesses or bugs into the core infrastructure elements of the Kin Ecosystem
        and open-source code which may cause the Kin Ecosystem to lose Tokens stored in user wallets or lose
        other valued Tokens issued pursuant to the Kin Rewards Engine or held by the Kin Ecosystem Foundation.
        Such events may result in a loss of trust in the security and operation of the Kin Ecosystem and a decline
        in user activity and could negatively impact the market price of the Tokens. Further, the Ethereum network
        also operates based on an open-source protocol and may also be susceptible to developments by users or
        contributors that could damage the Ethereum network, which could also adversely affect the operation of
        the Kin Ecosystem.

        The Kin Ecosystem may be the target of malicious cyberattacks or may contain exploitable flaws in its
        underlying code, which may result in security breaches and the loss or theft of Tokens. If the Kin
        Ecosystem’s security is compromised or if the Kin Ecosystem is subjected to attacks that frustrate or
        thwart our users’ ability to access the Kin Ecosystem, their Tokens or the Kin Ecosystem products and
        services, users may cut back on or stop using the Kin Ecosystem altogether, which could seriously curtail
        the utilization of the Tokens and cause a decline in the market price of the Tokens.

        The Company will take steps to build, maintain, and secure the infrastructure of the Kin Ecosystem and
        user wallets and will work with experts as required in order to develop and employ best practices for
        network security; however, despite these measures, the Kin Ecosystem structural foundation, the open-
        source protocol, the software application and other interfaces or applications built upon the Kin Ecosystem
        are still in an early development stage and are unproven, and there can be no assurances that the Kin
        Ecosystem and the creating, transfer or storage of the Tokens will be uninterrupted or fully secure which
        may result in a complete loss of users’ Tokens or an unwillingness of users to access, adopt and utilize the
        Kin Ecosystem. Further, the Kin Ecosystem may also be the target of malicious attacks seeking to identify
        and exploit weaknesses in the software or the Kin Ecosystem which may result in the loss or theft of Tokens.
        In any such event, if the Network Launch does not occur or if the Kin Ecosystem is not widely adopted,
        Investors may lose all of their investment or may only be repaid the Discounted Purchase Amount.



                                                              13
        146528051 v8
FOIA Confidential Treatment Requested                                                                            KIK000053
By Kik Interactive Inc.
                Case 1:19-cv-05244-AKH Document 64-6 Filed 03/20/20 Page 19 of 30



        The Ethereum blockchain network on which Kin operates utilizes code that is subject to change at any
        time. These changes may have unintended consequences for the Kin Ecosystem and the Tokens.

        Kin is built as an ERC-20 token on top of the Ethereum blockchain. In addition to the aforementioned risks
        regarding development and acceptance of blockchain networks or the price of blockchain assets that may
        negatively affect the Ethereum network, other changes such as upgrades to Ethereum’s blockchain, a hard
        fork in Ethereum, or a change in how transactions are confirmed on the Ethereum blockchain may have
        unintended, adverse effects on all blockchains utilizing using the ERC-20 standard, including the Kin
        Ecosystem. These changes may occur at any time prior to the development of the Kin Ecosystem and may
        cause delays development or may completely foreclose the Company’s ability to launch the Kin Ecosystem.

        The Kin Ecosystem will rely on third-party platforms such as the Apple App Store and the Google Play
        Store to distribute the application through which users will access the Kin Ecosystem. If the Kin
        Ecosystem is unable to maintain a good relationship with such platform providers, if their terms and
        conditions or pricing change, if we violate or cannot comply with, or if a platform provider believes that
        we have violated, the terms and conditions of its platform, or if any of these platforms loses market share
        or falls out of favor or is unavailable for a prolonged period of time, access to and utilization of the Kin
        Ecosystem and the Tokens will suffer.

        A significant portion of Kik’s users access the Kik chat application on the Apple App Store and the Google
        Play Store, and it is expected that this will also be the case for accessing the Kin Ecosystem. The application
        through which users access the Kin Ecosystem will be subject to the standard policies and terms of service
        of third party platforms, which govern the promotion, distribution and operation generally of applications
        on the platform. Each platform provider has broad discretion to change and interpret its terms of service
        and other policies with respect to the Kin Ecosystem and other applications, and those changes may be
        unfavorable. A platform provider may also change its fee structure, add fees associated with access to and
        use of its platform, change how the personal information of its users is made available to application
        developers on the platform or restrict how users can share information with other users on its platform or
        across platforms.

        Such changes may decrease the visibility or availability of the Kin Ecosystem, limit distribution
        capabilities, prevent access to the Kin Ecosystem, increase the costs to operate on these platforms or result
        in the exclusion or limitation of the Kin Ecosystem application on such platforms which could negatively
        impact the Kin Ecosystem and the Tokens.

        If the Kin Ecosystem application violates, or a platform provider believes it has violated its terms of service
        (or if there is any change or deterioration in Kik or the Kin Ecosystem’s relationship with these platform
        providers), that platform provider could limit or discontinue Kik or the Kin Ecosystem’s access to the
        platform. Any limit of, or discontinuation to, Kik or the Kin Ecosystem’s access to any platform could
        adversely affect access to and utilization of the Kin Ecosystem and the Tokens.

        Risks related to blockchain technologies and digital assets

        The regulatory regime governing the blockchain technologies, cryptocurrencies, tokens and token
        offerings such as Kin Ecosystem and the Tokens is uncertain, and new regulations or policies may
        materially adversely affect the development of the Kin Ecosystem and the utility of the Tokens.

        Regulation of tokens (including the Kin) and token offerings such as this, cryptocurrencies (including
        Ethereum), blockchain technologies, and cryptocurrency exchanges currently is undeveloped and likely to
        rapidly evolve, varies significantly among international, federal, state and local jurisdictions and is subject
        to significant uncertainty. Various legislative and executive bodies in the United States and in other


                                                              14
        146528051 v8
FOIA Confidential Treatment Requested                                                                            KIK000054
By Kik Interactive Inc.
                Case 1:19-cv-05244-AKH Document 64-6 Filed 03/20/20 Page 20 of 30



        countries may in the future, adopt laws, regulations, guidance, or other actions, which may severely impact
        the development and growth of the Kin Ecosystem and the adoption and utility of the Tokens. Failure by
        the Company, the Kin Ecosystem Foundation or certain users of the Kin Ecosystem to comply with any
        laws, rules and regulations, some of which may not exist yet or are subject to interpretation and may be
        subject to change, could result in a variety of adverse consequences, including civil penalties and fines.

        As blockchain networks and blockchain assets have grown in popularity and in market size, federal and
        state agencies have begun to take interest in, and in some cases regulate, their use and operation. In the case
        of virtual currencies, state regulators like the New York Department of Financial Services have created new
        regulatory frameworks. Others, as in Texas, have published guidance on how their existing regulatory
        regimes apply to virtual currencies. Some states, like New Hampshire and North Carolina, have amended
        their state's statutes to include virtual currencies into existing licensing regimes. Treatment of virtual
        currencies continues to evolve under federal law as well. Both the Department of the Treasury and the
        Commodity Futures Trading Commission, for example, have published guidance on the treatment of virtual
        currencies like Bitcoin. The IRS released guidance treating Ether as property that is not currency for US
        federal income tax purposes, although there is no indication yet whether other courts or federal or state
        regulators will follow this classification. Both federal and state agencies have instituted enforcement actions
        against those violating their interpretation of existing laws.

        The regulation of non-currency use of blockchain assets is also uncertain. For example, neither the SEC
        nor the CFTC has formally asserted regulatory authority over any particular blockchain network. CFTC has
        publicly taken the position that certain blockchain assets are commodities, but SEC has not taken the
        position that any particular blockchain asset is a security. To the extent that a domestic government or
        quasi-governmental agency exerts regulatory authority over a blockchain network or asset, the Kin
        Ecosystem and the Tokens may be adversely affected.

        Blockchain networks also face an uncertain regulatory landscape in many foreign jurisdictions such as the
        European Union, China and Russia. Various foreign jurisdictions may, in the near future, adopt laws,
        regulations or directives that affect the Ethereum Network and its users, particularly Ethereum Exchanges
        and service providers that fall within such jurisdictions' regulatory scope. Such laws, regulations or
        directives may conflict with those of the United States or may directly and negatively impact our business.
        The effect of any future regulatory change is impossible to predict, but such change could be substantial
        and adverse to development and growth of the Kin Ecosystem and the adoption and utility of the Tokens.

        New or changing laws and regulations or interpretations of existing laws and regulations, in the United
        States and other jurisdictions, may adversely impact the value of the currency in which the Tokens may be
        exchanged, the value of the distributions that may be made by the Kin Ecosystem Foundation, the liquidity
        and market price of the Tokens, the ability to access marketplaces or exchanges on which to trade the
        Tokens, and the structure, rights and transferability of Tokens.

        The further development and acceptance of blockchain networks, including the Kin Ecosystem, which
        are part of a new and rapidly changing industry, are subject to a variety of factors that are difficult to
        evaluate. The slowing or stopping of the development or acceptance of blockchain networks and
        blockchain assets would have an adverse material effect on the successful development and adoption of
        the Kin Ecosystem and the Tokens.

        The growth of the blockchain industry in general, as well as the blockchain networks with which the Kin
        Ecosystem will rely and interact, is subject to a high degree of uncertainty. The factors affecting the further
        development of the cryptocurrency industry, as well as blockchain networks, include, without limitation:

            •    Worldwide growth in the adoption and use of Bitcoin, Ether and other blockchain technologies;

                                                              15
        146528051 v8
FOIA Confidential Treatment Requested                                                                            KIK000055
By Kik Interactive Inc.
                Case 1:19-cv-05244-AKH Document 64-6 Filed 03/20/20 Page 21 of 30




            •    Government and quasi-government regulation of Bitcoin, Ether and other blockchain assets and
                 their use, or restrictions on or regulation of access to and operation of blockchain networks or
                 similar systems;

            •    The maintenance and development of the open-source software protocol of the Bitcoin or Ethereum
                 networks;

            •    Changes in consumer demographics and public tastes and preferences;

            •    The availability and popularity of other forms or methods of buying and selling goods and services,
                 or trading assets including new means of using fiat currencies or existing networks;

            •    General economic conditions and the regulatory environment relating to cryptocurrencies; or

            •    A decline in the popularity or acceptance of the Bitcoin or Ethereum networks would adversely
                 affect our results of operations.

        The slowing or stopping of the development, general acceptance and adoption and usage of blockchain
        networks and blockchain assets may deter or delay the acceptance and adoption of the Kin Ecosystem and
        the Tokens.

        The prices of blockchain assets are extremely volatile. Fluctuations in the price of Ether or other digital
        assets could materially and adversely affect our business, and the Tokens may also be subject to
        significant price volatility.

        The prices of blockchain assets such as Bitcoin and Ether have historically been subject to dramatic
        fluctuations and are highly volatile, and the market price of the Tokens may also be highly volatile. Several
        factors may influence the market price of the Tokens, including, but not limited to:

            •    Global blockchain asset supply;

            •    The remaining supply of Kin following distributions pursuant to the Kin Rewards Engine;

            •    Global blockchain asset demand, which can be influenced by the growth of retail merchants' and
                 commercial businesses' acceptance of blockchain assets like cryptocurrencies as payment for goods
                 and services, the security of online blockchain asset exchanges and digital wallets that hold
                 blockchain assets, the perception that the use and holding of blockchain assets is safe and secure,
                 and the regulatory restrictions on their use;

            •    Investors’ expectations with respect to the rate of inflation;

            •    Changes in the software, software requirements or hardware requirements underlying the Kin
                 Ecosystem;

            •    Changes in the rights, obligations, incentives, or rewards for the various participants in the Kin
                 Ecosystem;

            •    Interest rates;

            •    Currency exchange rates, including the rates at which Ether may be exchanged for fiat currencies;


                                                              16
        146528051 v8
FOIA Confidential Treatment Requested                                                                          KIK000056
By Kik Interactive Inc.
                Case 1:19-cv-05244-AKH Document 64-6 Filed 03/20/20 Page 22 of 30




            •    Fiat currency withdrawal and deposit policies of blockchain asset exchanges on which the Tokens
                 may be traded and liquidity on such exchanges;

            •    Interruptions in service from or failures of major blockchain asset exchanges on which the Tokens
                 may be traded;

            •    Investment and trading activities of large investors, including private and registered funds, that may
                 directly or indirectly invest in the Kin Ecosystem or Tokens or other blockchain assets;

            •    Monetary policies of governments, trade restrictions, currency devaluations and revaluations;

            •    Regulatory measures, if any, that affect the use of blockchain assets such as the Tokens;

            •    The maintenance and development of the open-source software protocol of the Kin Ecosystem or
                 the Ethereum network;

            •    Global or regional political, economic or financial events and situations; or

            •    Expectations among Kin Ecosystem or other blockchain assets participants that the value of the
                 Tokens or other blockchain assets will soon change.

        A decrease in the price of a single blockchain assets may cause volatility in the entire blockchain asset
        industry and may affect other blockchain assets including the Tokens. For example, a security breach that
        affects investor or user confidence in Ether or Bitcoin may affect the industry as a whole and may also
        cause the price of the Tokens and other blockchain assets to fluctuate.




                                                              17
        146528051 v8
FOIA Confidential Treatment Requested                                                                            KIK000057
By Kik Interactive Inc.
                Case 1:19-cv-05244-AKH Document 64-6 Filed 03/20/20 Page 23 of 30



                                                  USE OF PROCEEDS


        We expect that the gross proceeds of this offering will be between $25.0 million and $50.0 million before
        the deduction of offering costs. A significant portion of the proceeds of the Offering will be used by the
        Company to originate the Minimum Viable Product and subsequently to progress the development of the
        Kin Ecosystem – a semi-centralized blockchain-based computer network that enables economic
        transactions and a reward system for digital service providers – as well as to develop an application to
        make the Kin Ecosystem accessible via the Kik messaging platform.

        In the event that the net proceeds of the Offering are less than $25.0 million, we will be unable to proceed
        with the development of the Kin Ecosystem and we do not expect that we will be able to successfully
        achieve the Network Launch. We intend to segregate the proceeds of the Offering until such time as we
        have received net proceeds of $25.0 million. If that threshold is achieved, we will release the funds for our
        use in developing the Kin Ecosystem. If that threshold is not achieved by July 15, 2017, we will return the
        proceeds to the Investors in full.




                                                             18
        146528051 v8
FOIA Confidential Treatment Requested                                                                          KIK000058
By Kik Interactive Inc.
                    Case 1:19-cv-05244-AKH Document 64-6 Filed 03/20/20 Page 24 of 30



                                                PLAN OF DISTRIBUTION


        Segregation of Funds

        Until we achieve the minimum Offering amount of $25.0 million, the proceeds for the Offering will be
        kept in a separately established account. Upon achievement of the minimum Offering amount and the
        closing on such amount, the proceeds from the minimum Offering amount will be distributed to the
        Company. Upon each additional closing, if any, the proceeds subject to that additional closing will be
        distributed to the Company and the associated SAFTs will be issued to the Investors in such SAFTs. If the
        Offering does not achieve the minimum Offering amount of $25.0 million, the proceeds for the Offering
        will be promptly returned to Investors, without deduction or interest.

        Investor Qualifications

        Only persons of adequate financial means who have no need for present liquidity with respect to this
        investment should consider purchasing the purchase rights set forth in the SAFT offered hereby because:
        (i) an investment in the SAFTs involves a number of significant risks (See “Risk Factors”); and (ii) no
        market for the SAFTs or the purchase rights contained therein, and none is likely to develop in the
        reasonably foreseeable future. This Offering is intended to be a private offering that is exempt from
        registration under the Securities Act and applicable state securities laws.

        This Offering is limited solely to accredited investors as defined in Regulation D under the Securities Act,
        meaning only those persons or entities coming within any one or more of the following categories:

            (i)           Any bank, as defined in Section 3(a)(2) of the Securities Act, or any savings and loan
                          association or other institution defined in Section 3(a)(5)(A) of the Securities Act,
                          whether acting in its individual or fiduciary capacity; any broker-dealer registered pursuant
                          to Section 15 of the Exchange Act; any insurance company, as defined in Section 2(13)
                          of the Securities Act; any investment company registered under the Investment Company
                          Act of 1940 or a business development company, as defined in Section 2(a)(48) of that Act;
                          any Small Business Investment Company licensed by the United States Small Business
                          Administration under Section 301(c) or (d) of the Small Business Investment Act of 1958;
                          any plan established and maintained by a state, its political subdivisions or any agency or
                          instrumentality of a state or its political subdivisions for the benefit of its employees, if
                          such plan has total assets in excess of $5,000,000; and any employee benefit plan within
                          the meaning of the Employee Retirement Income Security Act of 1974, if the investment
                          decision is made by a plan fiduciary, as defined in Section 3(21) of such Act, that is either
                          a bank, savings and loan association, insurance company or registered investment advisor,
                          if the employee benefit plan has total assets in excess of $5,000,000 or, if a self-directed
                          plan, with investment decisions made solely by person(s) that are accredited investor(s);

            (ii)          Any private business development company as defined in Section 202(a)(22) of the
                          Investment Advisors Act of 1940;

            (iii)         Any organization described in Section 501(c)(3) of the Internal Revenue Code of 1986, as
                          amended, any corporation, Massachusetts or similar business trust, or company, not formed
                          for the specific purpose of acquiring the Common Stock, with total assets in excess of
                          $5,000,000;

            (iv)          Any director or executive officer of the Company;


                                                              19
        146528051 v8
FOIA Confidential Treatment Requested                                                                            KIK000059
By Kik Interactive Inc.
                   Case 1:19-cv-05244-AKH Document 64-6 Filed 03/20/20 Page 25 of 30



            (v)          Any natural person whose individual net worth, or joint net worth with that person’s
                         spouse, exclusive of the value of the person’s primary residence net of any mortgage debt
                         and other liens, at the time of his or her purchase exceeds $1,000,000;

            (vi)         Any natural person who had an individual income in excess of $200,000, or joint income
                         with that person’s spouse in excess of $300,000, in each of the two most recent years and
                         who reasonably expects to reach the same income level in the current year;

            (vii)        Any trust with total assets in excess of $5,000,000, not formed for the specific purpose of
                         acquiring the Common Stock, whose purchase is directed by a sophisticated person as
                         described in Rule 506(b)(2)(ii) of Regulation D; or

            (viii)       Any entity all of whose equity owners are accredited investors.

        The term “net worth” means the excess of total assets over total liabilities, exclusive of the value of your
        primary residence net of any mortgage debt and other liens. In determining income, you should add to your
        adjusted gross income any amounts attributable to tax-exempt income received, losses claimed as a limited
        partner in any limited partnership, deductions claimed for depreciation, contributions to an IRA or Keogh
        retirement plan, alimony payments and any amount by which income from long-term capital gains had been
        reduced in arriving at adjusted gross income.

        You will be required to represent to the Company in writing that you are an accredited investor under
        Regulation D, as described above, and may also be required to provide certain documentation in support of
        such representation. In addition to the foregoing requirement, you must also represent in writing that you
        are acquiring the SAFT for your own account and not for the account of others and not with a view to resell
        or distribute such securities.

        Other Requirements
         The USA PATRIOT Act                  What is money laundering?        How big is the problem
                                                                               and why is it important?
         The USA PATRIOT Act is Money laundering is the process of The use of the United States
         designed to detect, deter and disguising illegally obtained money financial system by criminals
         punish terrorists in the United so that the funds appear to come to facilitate terrorism or other
         States and abroad. The Act from legitimate sources or activities. crimes could taint our financial
         imposes        new      anti-money Money laundering occurs in markets. According to the
         laundering      requirements     on connection with a wide variety of United         States        State
         brokerage firms and financial crimes, including illegal arms sales, Department,           one     recent
         institutions. Since April 24, 2002, drug trafficking, robbery, fraud, estimate puts the amount of
         all United States brokerage firms racketeering and terrorism.         worldwide money laundering
         have been required to have                                            activity at $1 trillion a year.
         comprehensive           anti-money
         laundering programs in effect. To
         help you understand these efforts,
         the Placement Agent wants to
         provide      you      with    some
         information       about      money
         laundering and the Placement
         Agent’s efforts to help implement
         the USA PATRIOT Act.




                                                            20
        146528051 v8
FOIA Confidential Treatment Requested                                                                         KIK000060
By Kik Interactive Inc.
                     Case 1:19-cv-05244-AKH Document 64-6 Filed 03/20/20 Page 26 of 30




            What the Company is required to do to help eliminate money laundering?
            Under new rules required by the USA PATRIOT                   As part of the Company’s required program, it may
            Act, the Company’s anti- money laundering                     ask you to provide various identification
            program must designate a special compliance                   documents or other information. Until you provide
            officer, set up employee training, conduct                    the information or documents that the Company
            independent audits and establish policies and                 needs, it may not be able to effect any transactions
            procedures designed to detect and report                      for you.
            suspicious transaction and ensure compliance with
            the new laws and rules.

        You should check the Office of Foreign Assets Control (the “OFAC”) website at
        http://www.treas.gov/ofac before making the following representations: You represent that the amounts
        invested by you in this Offering were not and are not directly or indirectly derived from any activities that
        contravene Federal, state or international laws and regulations, including anti-money laundering laws and
        regulations. Federal regulations and Executive Orders administered by the OFAC prohibit, among other
        things, the engagement in transactions with, and the provision of services to, certain foreign countries,
        territories, entities and individuals. The lists of the OFAC-prohibited countries, territories, individuals and
        entities can be found on the OFAC website at http://www.treas.gov/ofac. In addition, the programs
        administered by the OFAC (the “OFAC Programs”) prohibit dealing with individuals 1 or entities in certain
        countries, regardless of whether such individuals or entities appear on any OFAC list;

              (i)          you represent and warrant that none of: (1) you; (2) any person controlling or controlled by
                           you; (3) if you are a privately-held entity, any person having a beneficial interest in you;
                           or (4) any person for whom you are acting as agent or nominee in connection with this
                           investment is a country, territory, entity or individual named on an OFAC list, or a person
                           or entity prohibited under the OFAC Programs. Please be advised that the Placement Agent
                           may not accept any subscription amounts from a prospective investor if such investors
                           cannot make the representation set forth in the preceding sentence. You agree to promptly
                           notify the Company and the Placement Agent should you become aware of any change in
                           the information set forth in any of these representations. You are advised that, by law, the
                           Placement Agent may be obligated to “freeze the account” of any investor, either by
                           prohibiting additional subscriptions from it, declining any redemption requests and/or
                           segregating the assets in the account in compliance with governmental regulations, and
                           that the Placement Agent may also be required to report such action and to disclose such
                           investor’s identity to the OFAC;
              (ii)         you represent and warrant that none of: (1) you; (2) any person controlling or controlled by
                           you; (3) if you are a privately-held entity, any person having a beneficial interest in you;
                           or (4) any person for whom you are acting as agent or nominee in connection with this
                           investment is a senior foreign political figure 2, or any immediate family 3 member or close


        1
          These individuals include specially designated nationals, specially designated narcotics traffickers and other parties
        subject to OFAC sanctions and embargo programs.
        2
          A “senior foreign political figure” is defined as a senior official in the executive, legislative, administrative, military
        or judicial branch of a foreign government (whether elected or not), a senior official of a major foreign political party,
        or a senior executive of a foreign government-owned corporation. In addition, a “senior foreign political figure”
        includes any corporation, business or other entity that has been formed by, or for the benefit of, a senior foreign
        political figure.
        3
          “Immediate family” of a senior foreign political figure typically includes such figure’s parents, siblings, spouse,
        children and in-laws.

                                                                     21
        146528051 v8
FOIA Confidential Treatment Requested                                                                                          KIK000061
By Kik Interactive Inc.
                  Case 1:19-cv-05244-AKH Document 64-6 Filed 03/20/20 Page 27 of 30



                        associate 4 of a senior foreign political figure, as such terms are defined in the footnotes
                        below; and
            (iii)       if you are affiliated with a non-U.S. banking institution (a “Foreign Bank”), or if you
                        receive deposits from, make payments on behalf of, or handle other financial transactions
                        related to a Foreign Bank, you represent and warrant to the Company and the Placement
                        Agent that: (1) the Foreign Bank has a fixed address, and not solely an electronic address,
                        in a country in which the Foreign Bank is authorized to conduct banking activities; (2)
                        the Foreign Bank maintains operating records related to its banking activities; (3) the
                        Foreign Bank is subject to inspection by the banking authority that licensed the Foreign
                        Bank to conduct its banking activities; and (4) the Foreign Bank does not provide banking
                        services to any other Foreign Bank that does not have a physical presence in any country
                        and that is not a regulated affiliate.
        The Company is entitled to rely upon the accuracy of your representations to each of them. The Company
        may, but under no circumstances shall it be obligated to, require additional evidence that a prospective
        investor meets the standards set forth above at any time prior to its acceptance of a prospective investor’s
        subscription. You are not obligated to supply any information so requested by the Company, but the
        Company may reject a subscription from you or any person who fails to supply such information.

        How to Subscribe

        To subscribe for the purchase rights set forth in the SAFT, each prospective investor must complete,
        execute and deliver the following to the Company:

            (a)    A signature page evidencing such prospective investor's execution of the SAFT;

            (b)    A completed Investor Questionnaire (for a natural person or entity, as applicable);

            (c)    For U.S. citizens or residents of the United States, an Internal Revenue Service Form W-9;

            (d)    For individual investors, a copy of one form of government issued picture identification (e.g.
                   state issued driver’s license or passport); and

            (e)    The subscription amount by wire transfer or certified check to the Company, the details of
                   which shall be provided by the Company.

        The materials referenced above are available at www.coinlist.co/kin.

        All subscription funds will be deposited in the Company’s account and shall be segregated by the Company
        until the earlier of the time at which a Closing is held whereby the Company shall achieve the minimum
        Offering amount of $25.0 million. No interest will be paid to any potential investors on funds delivered to
        the Company and later returned to the Investor. Accordingly, Investors will lose the use of their funds for
        up to the duration of this Offering period.

        Subject to applicable state securities laws, you may not revoke any subscription that you deliver to the
        Company.




        4
         A “close associate” of a senior foreign political figure is a person who is widely and publicly known to maintain an
        unusually close relationship with such senior foreign political figure, and includes a person who is in a position to
        conduct substantial domestic and international financial transactions on behalf of such senior foreign political figure.

                                                                  22
        146528051 v8
FOIA Confidential Treatment Requested                                                                                     KIK000062
By Kik Interactive Inc.
                Case 1:19-cv-05244-AKH Document 64-6 Filed 03/20/20 Page 28 of 30



        If a subscription is wholly or partially rejected, subscription funds in the amount rejected will be returned
        to such subscriber, without interest, deduction or offset.

        Notice to Prospective Investors in Canada

        Each Canadian purchaser who purchases securities on a private placement basis pursuant to this offering
        memorandum will be deemed to have represented to and agreed with the Company that such purchaser: (i)
        is resident in Canada; (ii) is purchasing the securities with the benefit of the prospectus exemption provided
        by Section 2.3 of National Instrument 45-106 – Prospectus Exemptions (NI 45-106) (that is, such purchaser
        is an “accredited investor” within the meaning of NI 45-106 and is either purchasing securities as principal
        for its own account, or is deemed to be purchasing the securities as principal for its own account in
        accordance with applicable securities laws); (iii) if not an individual, the purchaser was not created or used
        solely to purchase or hold securities as an accredited investor under NI 45-106; and (iv) if required by
        applicable securities laws, the purchaser will execute, deliver and file or assist the Company in obtaining
        and filing such certificates, reports, undertakings and other documents relating to the purchase of the
        securities by the purchaser as may be required by any securities commission or other regulatory authority.

        Canadian Resale Restrictions

        The distribution of the securities in Canada is being made only on a private placement basis exempt from
        the requirement that the Company prepare and file a prospectus with the applicable securities regulatory
        authorities. The Company is not a reporting issuer in any province or territory in Canada and its securities
        are not listed on any stock exchange in Canada and there is currently no public market for the securities in
        Canada. The Company currently has no intention of becoming a reporting issuer in Canada, filing a
        prospectus with any securities regulatory authority in Canada to qualify the resale of the securities to the
        public, or listing its securities on any stock exchange in Canada. Accordingly, to be made in accordance
        with securities laws, any resale of the securities in Canada must be made under available statutory
        exemptions from registration and prospectus requirements or under a discretionary exemption granted by
        the applicable Canadian securities regulatory authority. Canadian purchasers are advised to seek legal
        advice prior to any resale of the securities.

        Purchasers’ Rights - Ontario

        Securities legislation in certain of the provinces of Canada provides purchasers with rights of rescission or
        damages, or both, where an offering memorandum or any amendment to it contains a misrepresentation. A
        “misrepresentation” is an untrue statement of a material fact or an omission to state a material fact that is
        required to be stated or that is necessary to make any statement not misleading in light of the circumstances
        in which it was made. These remedies must be commenced by the purchaser within the time limits
        prescribed and are subject to the defenses contained in the applicable securities legislation.

        The following is a summary of the statutory rights of rescission or damages, or both, under securities
        legislation in Ontario, and as such, is subject to the express provisions of the legislation and the related
        regulations and rules and reference is made thereto for the complete text of such provisions. Such
        provisions may contain limitations and statutory defenses not described here on which the Company and
        other applicable parties may rely. The rights described below are in addition to, and without derogation
        from, any other right or remedy available at law to purchasers of the securities. Purchasers should refer to
        the applicable provisions of the securities legislation of Ontario for the particulars of these rights or consult
        with a legal adviser.

        Ontario securities legislation provides that where an offering memorandum is delivered to a purchaser and
        contains a misrepresentation, the purchaser will, except as provided below, have a statutory right of action


                                                               23
        146528051 v8
FOIA Confidential Treatment Requested                                                                              KIK000063
By Kik Interactive Inc.
                Case 1:19-cv-05244-AKH Document 64-6 Filed 03/20/20 Page 29 of 30



        for damages or for rescission against the Company, without regard to whether the purchaser relied on the
        misrepresentation; if the purchaser elects to exercise the right of rescission, the purchaser will have no right
        of action for damages against the Company. No such action shall be commenced more than, in the case of
        an action for rescission, 180 days after the date of the transaction that gave rise to the cause of action, or,
        in the case of any action other than an action for rescission, the earlier of: (i) 180 days after the purchaser
        first had knowledge of the facts giving rise to the cause of action, or (ii) three years after the date of the
        transaction that gave rise to the cause of action. The Ontario legislation provides a number of limitations
        and defenses to such actions, including: (a) the Company is not liable if it proves that the purchaser
        purchased the securities with knowledge of the misrepresentation; (b) in an action for damages, the
        Company shall not be liable for all or any portion of the damages that the Company proves do not represent
        the depreciation in value of the securities as a result of the misrepresentation relied upon; and (c) in no case
        shall the amount recoverable exceed the price at which the securities were offered.

        These rights are not available for a purchaser that is: (a) a Canadian financial institution, meaning either:
        (i) an association governed by the Cooperative Credit Associations Act (Canada) or a central cooperative
        credit society for which an order has been made under section 473(1) of that Act; or (ii) a bank, loan
        corporation, trust company, trust corporation, insurance company, treasury branch, credit union, caisse
        populaire, financial services cooperative, or league that, in each case, is authorized by an enactment of
        Canada or a province or territory of Canada to carry on business in Canada or a province or territory of
        Canada; (b) a Schedule III bank, meaning an authorized foreign bank named in Schedule III of the Bank
        Act (Canada); (c) the Business Development Bank of Canada incorporated under the Business Development
        Bank of Canada Act (Canada); or (d) a subsidiary of any person referred to in clauses (a), (b) or (c), if the
        person owns all of the voting securities of the subsidiary, except the voting securities required by law to be
        owned by directors of that subsidiary.

        Notice to Prospective Investors in the United Kingdom

        With respect to offers and sales of our securities that are the subject of this Memorandum:

            •    offers or sales of any of such securities to persons in the United Kingdom are prohibited in
                 circumstances which have resulted in or will result in such securities being or becoming the subject
                 of an offer of transferable securities to the public as defined in Section 102B of the Financial
                 Services and Markets Act 2000 (as amended) (the “FSMA”);

            •    all applicable provisions of the FSMA must be complied with, with respect to anything done in
                 relation to such securities in, from or otherwise involving the United Kingdom; and

            •    any invitation or inducement to engage in investment activity (within the meaning of Section 21 of
                 the FSMA) received in connection with the issue or sale of such securities shall only be
                 communicated, or be caused to be communicated, in circumstances in which Section 21(1) of the
                 FSMA does not apply to us.

        Notice to Prospective Investors in China

        The SAFTs are not being offered or sold and may not be offered or sold, directly or indirectly, within the
        People’s Republic of China (for such purposes, not including the Hong Kong and Macau Special
        Administrative Regions or Taiwan), except as permitted by the securities and other laws and regulations of
        the People’s Republic of China.




                                                              24
        146528051 v8
FOIA Confidential Treatment Requested                                                                             KIK000064
By Kik Interactive Inc.
                Case 1:19-cv-05244-AKH Document 64-6 Filed 03/20/20 Page 30 of 30



                                        TAX CONSIDERATIONS


        EACH INVESTOR SHOULD SEEK, AND MUST DEPEND UPON, THE ADVICE OF HIS OR HER
        TAX ADVISOR WITH RESPECT TO THEIR INVESTMENT, AND EACH INVESTOR IS
        RESPONSIBLE FOR THE FEES OF SUCH ADVISOR. NOTHING IN THIS MEMORANDUM IS OR
        SHOULD BE CONSTRUED AS LEGAL OR TAX ADVICE TO AN INVESTOR. INVESTORS
        SHOULD BE AWARE THAT THE INTERNAL REVENUE SERVICE MAY NOT AGREE WITH ALL
        TAX POSITIONS TAKEN BY THE COMPANY AND THAT CHANGES TO THE INTERNAL
        REVENUE CODE OR THE REGULATIONS OR RULINGS THEREUNDER OR COURT DECISIONS
        AFTER THE DATE OF THIS MEMORANDUM MAY CHANGE THE ANTICIPATED TAX
        TREATMENT TO AN INVESTOR. THE COMPANY WILL NOT OBTAIN ANY RULING FROM THE
        INTERNAL REVENUE SERVICE WITH REGARD TO THE TAX CONSEQUENCES OF AN
        INVESTMENT IN THE NOTES.

        TO ENSURE COMPLIANCE WITH TREASURY DEPARTMENT CIRCULAR 230, PROSPECTIVE
        INVESTORS ARE HEREBY NOTIFIED THAT: (A) ANY DISCUSSION OF FEDERAL TAX ISSUES
        IN THIS MEMORANDUM IS NOT INTENDED OR WRITTEN TO BE RELIED UPON, AND
        CANNOT BE RELIED UPON, BY INVESTORS FOR THE PURPOSE OF AVOIDING PENALTIES
        THAT MAY BE IMPOSED ON SUCH INVESTORS UNDER THE CODE; (B) SUCH DISCUSSION IS
        WRITTEN IN CONNECTION WITH THE PROMOTION OR MARKETING OF INVESTMENTS IN
        THE COMPANY; AND (C) PROSPECTIVE INVESTORS SHOULD SEEK ADVICE BASED ON
        THEIR PARTICULAR CIRCUMSTANCES FROM AN INDEPENDENT TAX ADVISOR.




                                                25
        146528051 v8
FOIA Confidential Treatment Requested                                               KIK000065
By Kik Interactive Inc.
